








In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-04-087 CV


____________________



CAMERON LIGHT, Appellant



V.



EDWARD WOMACK and CARSIDONIA LAPAGLIA, Appellees






On Appeal from the 258th District Court


Polk County, Texas


Trial Cause No. 21,028






OPINION ON REHEARING


	In response to a motion for rehearing filed by Appellant, we withdraw our opinion of
August 26, 2004, and substitute the following in its place.

	Cameron Light, an inmate in the Texas Department of Criminal Justice, Institutional
Division, filed a negligence suit against Institutional Division employees Edward Womack
and Carsidonia LaPaglia.  Light alleged that he sustained a whiplash injury when a newly
installed water heater toppled on him, and that the defendants were negligent in their
supervision of the heater's installation and in their maintenance of the safety of the boiler
room in which Light worked.  Light also alleged that he sustained economic injuries in the
form of an ambulance bill and a commissary account charge by the Department for the cost
of a new water tank.  Without prior notice, the trial court dismissed the suit for failure to file
an affidavit of previous filings.  Light appealed that dismissal.  We reformed the judgment
below to provide the cause was dismissed without prejudice and, as reformed, affirmed the
court's decision.  See Light v. Womack, 113 S.W.3d 872 (Tex. App.--Beaumont 2003, no
pet.).  Light again filed suit and again the trial court dismissed it, "as frivolous pursuant to
Chapter Fourteen of the Texas Civil Practice and Remedies Code."   See Tex. Civ. Prac. &amp;
Rem. Code Ann. §§ 14.001-.014 (Vernon 2002).

	The Office of the Attorney General of Texas (OAG), as Amicus Curiae, filed a brief
in response to Light's appeal.  It asserts Light has not demonstrated exhaustion of
administrative remedies.  Our review of the record indicates Light did not allege  personal
injury in his complaints before the grievance system, nor did he allege negligence on the part
of either Womack or Lapaglia.  Therefore, Light failed to exhaust his administrative remedies
and his tort claim is without a basis in law.  See Retzlaff v. Texas Dept. of Criminal Justice,
94 S.W.3d 650, 654 (Tex. App.-- Houston [14th Dist.] 2002, pet. denied).  See also Tex.
Gov't Code Ann. § 501.008 (Vernon 1998); Tex. Civ. Prac. &amp; Rem. Code Ann. § 14.005
(Vernon 2002).  The order of the trial court is AFFIRMED.



							________________________________

                                                                                                DON BURGESS

                                                                                                       Justice


Submitted on July 14, 2004

Opinion Delivered September 30, 2004



Before McKeithen, C.J., Burgess and Gaultney, JJ.


